Case 23-12825-MBK                Doc 1137       Filed 07/31/23 Entered 07/31/23 21:55:27                      Desc Main
                                              Document      Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11
     LTL MANAGEMENT LLC,1                                            Case No.: 21-30589 (MBK)
                                 Debtor.                             Judge: Michael B. Kaplan
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,2                                            Case No.: 23-12825 (MBK)
                                 Debtor.                             Judge: Michael B. Kaplan


                            NOTICE OF AGENDA OF MATTERS SCHEDULED
                            FOR HEARING ON AUGUST 2, 2023 AT 10:00 A.M.

                                Parties are directed to https://www.njb.uscourts.gov/LTL
                          for appearing via Zoom or in-person, or observing via Zoom




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK      Doc 1137     Filed 07/31/23 Entered 07/31/23 21:55:27           Desc Main
                                  Document      Page 2 of 3



 STATUS CONFERENCE GOING FORWARD IN 2023 CHAPTER 11 CASE

 1.    A status conference is going forward in the Debtor’s current chapter 11 case pursuant to
       the Court’s July 24, 2023 text order.

 CONTESTED MATTERS GOING FORWARD IN 2021 CHAPTER 11 CASE

 2.    Omnibus Motion of the Substantial Contribution Claimants for Allowance of
       Administrative Claims for Reimbursement of Expenses Incurred for the Period From
       October 14, 2021 Through November 12, 2021 (Prior to the Official Committee of Talc
       Claimants’ Retention of Counsel) That Provided a Substantial Contribution in the
       Debtor’s Case [No. 21-30589, Dkt. 3949] (the “Substantial Contribution Claimant
       Motion”).

       Status: This matter is going forward.

       Objection Deadline: July 26, 2023

       Related Documents:

       A.     Order Granting Adjournment Request [No. 21-30589, Dkt. 3959].

       B.     Reply in Support of the Substantial Contribution Claimant Motion [No. 21-30589,
              Dkt. 3964].

       Objection Received:

       C.     Debtor’s Omnibus Objection to Motions for Allowance of Substantial
              Contribution Claims [No. 21-30589, Dkt. 3962] (the “Debtor Omnibus
              Objection”).

       D.     United States Trustee’s Omnibus Objection to the Substantial Contribution
              Motions Filed at Docket Nos. 3949 and 3951 [No. 21-30589, Dkt. 3963]
              (the “U.S. Trustee Omnibus Objection”).

 3.    Motion of Aylstock, Witkin, Kreis & Overholtz, PLLC for Allowance of Substantial
       Contribution Claim [No. 21-30589, Dkt. 3951] (the “AWKO Motion”).

       Status: This matter is going forward.

       Objection Deadline: July 26, 2023

       Related Documents:

       A.     Order Granting Adjournment Request [No. 21-30589, Dkt. 3959].

       B.     Reply in Support of the AWKO Motion.




                                              -2-
Case 23-12825-MBK        Doc 1137     Filed 07/31/23 Entered 07/31/23 21:55:27        Desc Main
                                    Document      Page 3 of 3



        Objection Received:

        C.     The Debtor Omnibus Objection.

        D.     The U.S. Trustee Omnibus Objection.

  Dated: July 31, 2023                          WOLLMUTH MAHER & DEUTSCH LLP

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